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                                          U.S. Department of Justice
[Type text]
                                                      United States Attorney
                                                      Southern District of New York

                                                      The Silvio J. Mollo Building
                                                      One Saint Andrew’s Plaza
                                                      New York, New York 10007


                                                      January 8, 2021

BY CM/ECF AND EMAIL
The Honorable Jesse M. Furman
United States District Judge
Southern District of New York
New York, New York 10007

        Re:    United States v. Robert Wilson et al., S2 19 Cr. 625 (JMF)

Dear Judge Furman:

        The parties write in response to the Court’s January 4, 2021 Order (Doc. No. 88) to set forth
their views on the questions the Court posed: “(1) whether this case should or must be tried before
June 30, 2021, or whether trial should be adjourned to later; (2) whether there are dates during the
second quarter of 2021 other than May 24, 2021, that all counsel would be available to begin a trial;
(3) whether and when the Court should hold a conference to discuss the matter; and (4) whether
time should be excluded under the Speedy Trial Act between January 18, 2021, and March 2, 2021.”

        The Government’s Response

         First, the Government’s strongly held view is that this case should proceed to trial as
scheduled on May 24, 2021, or, if that date is not possible under the District’s trial assignment plan,
any other day in the second quarter of 2021 or as soon thereafter as possible. As an initial matter,
the Government acknowledges its “affirmative obligation to criminal defendants and to the public
to bring matters to trial promptly,” as well as its additional obligation to “press[] the court for a
reasonably prompt trial.’” United States v. Black, 918 F.3d 243, 253, 254 (2d Cir. 2019) (quotations
omitted). Mindful of this duty, the Government respectfully requests as reasonably prompt a trial
date in this case as possible. This request is particularly appropriate in light of the age of the case
and the custodial status of the defendants: this case has been pending since September 2019—six
months before the pandemic began—and all four defendants are in pretrial detention. In addition,
some witnesses who are expected to testify at trial are also in custody and will not be sentenced
until trial in this matter is complete. Finally, this week marks the two-year anniversary of the murder
of Nelson Ramos, which is the subject of multiple counts in this case. His family also deserves to
have those accused of committing his murder brought to trial as reasonably promptly as possible.

        Second, the Government will be available to begin trial on any day in the second quarter of
2021.

        Third, in the light of the defense’s objections, the Government welcomes a conference to
discuss this matter.
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        Fourth, the Government respectfully requests that the Court exclude time under the Speedy
Trial Act, 18 U.S.C. § 3161, until March 2, 2021, for the reasons set forth below. Counsel for the
defendants consent to this request. The Government submits that the ends of justice served by an
exclusion of time until March 2, 2021 outweigh the best interest of the public and the defendants in
a speedy trial, because such an exclusion will allow the defendants and their counsel additional time
to continue their review of the discovery in this case, to prepare and file potential pretrial motions,
to continue discussions with the Government about potential pretrial resolutions, and to otherwise
continue their preparations for trial.

       The Defense’s Response

         Defense counsel and our clients have conferred and make the following request: May 24,
2021, has long been a firm trial date, and the defendants understand that. However, no one could
have foreseen the degree to which the international pandemic has wrought havoc on the
administration of justice in the federal courts. Our clients, all of whom are detained, have been
under near constant lockdown for months. At least one of them, if not more, have contracted and
endured COVID, with lasting after-effects. Visiting clients in person has been near impossible;
indeed, the MDC has been closed to legal visitors for months, even for those willing to brave that
facility, a COVID hotbed. Neither phone nor video conferences serve as satisfactory substitutes
for in-person, substantive conversations about the trial or potential resolutions, and they do not
allow for attorneys and clients to go through discovery together. Currently clients are released only
30 minutes a day out of their cells, five days a week. They have no ability to review their own
discovery, since it is almost all electronic and requires the use of unit computers. As the Court
knows, the two months before a trial are crucial and preparation ramps up significantly. It is
unknown whether we will have access to our clients in March, April and May, and can sit with
them for hours to discuss trial strategies, motions in limine, potential investigations, etc.

        For Robert Wilson, the difficulties presented by the pandemic and the BOP’s response are
exacerbated by the fact that his lawyer only came on board in early July 2020, in the midst of the
crisis. Lawyer and client have never even met in person. Mr. Wilson’s attorney has a herculean
task to try to catch up, not only in discovery review, but also in establishing a trusting relationship
with his client.

        Accordingly, it is the position of the defendants and their lawyers that the May 24 trial date,
and indeed any trial date in the second quarter, is no longer feasible. Our clients are accused of
committing very serious crimes and face mandatory life sentences if convicted at trial. In our view,
it is not in their interests, nor the public’s, to insist on a trial in May or June given the current
conditions and the severe limitations placed on the attorney-client relationships.

        In answer to the Court’s second inquiry, if the Court requires the parties to proceed to trial
in the second quarter over defense objection, other dates in the quarter are agreeable, but not later
than June 14, 2021, as at least two counsel have conflicts in early July.

       The defense agrees that a conference is advisable, and is available for a conference between
January 11 and January 15, except for the mornings of January 12th and 14th, and between 12-1pm
on January 13. Moreover, counsel and the defendants agree to participate in a telephonic
conference, rather than in person. We believe that conducting the conference telephonically would
be consistent with the Constitution, the Federal Rules of Criminal Procedure, and the CARES Act
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in light of the ongoing national COVID pandemic, the unnecessary risks that an in-person
conference would place on the participants, and the fact that the defendants would need to
quarantine for 14 days under intolerable conditions.


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                                                      Respectfully submitted,

                                                      AUDREY STRAUSS
                                                      Acting United States Attorney

                                              By:        /s/ Justin V. Rodriguez
                                                      Andrew K. Chan / Justin V. Rodriguez
                                                      Assistant United States Attorneys
                                                      (212) 637-1072 / 2591


Cc: Counsel for all Defendants (by CM/ECF and email)



       The Court will hold a telephone conference to discuss the timing of trial. Given the protocols
       for telephone conferences with detained defendants and the fact that two Defendants are detained
       at the MCC and two are detained at the MDC, it is not clear whether the Court will be able to set
       up a single time when all Defendants could participate in a telephone conference. For now,
       however, the Court will hold a telephone conference on Monday, January 25, 2021, at noon.
       The Court will advise if that date and time do not work - or if it cannot arrange for a single
       conference with all Defendants, in which case the Court may have to hold two conferences.
       Needless to say, if some or all of the Defendants waive their presence at the conference (mindful
       that their presence is probably not even required in light of Rule 43(b)(3) of the Federal
       Rules of Criminal Procedure), it may facilitate the scheduling of a conference with all counsel.
       Counsel shall promptly advise the Court if any Defendant waives his presence.

       The Clerk of Court is directed to terminate ECF No. 89.

                                                    SO ORDERED.




                                                    January 12, 2021
